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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11    CALIFORNIA RIFLE & PISTOL              )    Case No.: 2:22-cv-07346-SB-JC
      ASSOCIATION, INCORPORATED; )
12    SECOND AMENDMENT                            [PROPOSED] ORDER TO EXTEND
      FOUNDATION; GUN OWNERS OF )                 TIME TO COMPLETE
13    CALIFORNIA, INC. NELSON GIBBS )             SETTLEMENT
      and JOHN LEYBA,
14                                           )
                                 Plaintiffs, )
15
                       vs.                   )
16                                           )
      CITY OF GLENDALE; GLENDALE )
17    CHIEF OF POLICE CARL                        Complaint Served: October 18, 2022
      POVILAITIS, in his official capacity; )
18    GLENDALE CITY CLERK SUZIE              )
      ABAJIAN, in her official capacity; and      Hon. Stanley Blumenfeld Jr.
19    DOES 1-10,                             )
                                             )
20                               Defendants. )
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 1                                    [PROPOSED] ORDER
 2          Pursuant to the parties’ request and good cause appearing thereon, IT IS SO
 3    ORDERED. The time to complete settlement of this matter is extended to
 4    ______________________.
 5
 6    Dated:
 7
                                               Stanley Blumenfeld, Jr.
 8
                                               United States District Judge
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